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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  NIPPON SHINYAKU CO., LTD.,                          )
                                                      )
                 Plaintiff,                           )
                                                      )
                                                      ) C.A. No. 21-1015 (GBW)
  v.                                                  )
                                                      ) DEMAND FOR JURY TRIAL
  SAREPTA THERAPEUTICS, INC.,                         )
                                                      )
                 Defendant.                           )
                                                      )
  SAREPTA THERAPEUTICS, INC. and THE                  )
  UNIVERSITY OF WESTERN AUSTRALIA,                    )
                                                      )
                                                      )
                 Defendant/Counter-Plaintiffs,        )
                                                      )
  v.                                                  )
                                                      )
  NIPPON SHINYAKU CO., LTD. and                       )
  NS PHARMA, INC.,                                    )
                                                      )
                                                      )
                 Plaintiff/Counter-Defendants.        )

                         COUNTER-DEFENDANTS’ ANSWER TO
                        COUNTER-PLAINTIFFS’ COUNTERCLAIMS

        Counter-Defendants Nippon Shinyaku Co., Ltd. (“Nippon Shinyaku”) and NS Pharma, Inc.

 (“NS Pharma”) (collectively, “Counter-Defendants”), by their attorneys, answer the

 Counterclaims of Counter-Plaintiff Sarepta Therapeutics, Inc. (“Sarepta”) and the University of

 Western Australia (“UWA”) (collectively, “Counter-Plaintiffs”) and state their affirmative

 defenses to the Counterclaims asserted against Counter-Defendants. Unless specifically admitted

 herein each and every allegation in the Counterclaim is denied.
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                               ANSWER TO COUNTERCLAIMS

                   Responses to Allegations Regarding Nature of the Action

         1.     Sarepta and UWA assert counterclaims for infringement of U.S. Patent Nos.
 9,994,851 (“the ‘851 patent”) (Exhibit A); 10,227,590 (“the ‘590 patent”) (Exhibit B); and
 10,266,827 (“the ‘827 patent”) (Exhibit C) (collectively, “the UWA Patents”) arising under the
 patent laws of the United States, 35 U.S.C. § 1 et seq. These patent infringement claims arise out
 of Defendants’ unauthorized manufacture, use, sale, offer for sale, and/or importation in the United
 States of Viltepso, also known as viltolarsen, and Defendants’ intentional encouragement of
 physicians and patients to administer Viltepso.

        ANSWER: Counter-Defendants admit that Counter-Plaintiffs’ counterclaims purport to

 assert claims for infringement of the ’851 Patent, the ’590 Patent, and the ’827 Patent. Counter-

 Defendants deny the remaining allegations in paragraph 1.

         2.     Sarepta further asserts a counterclaim for declaratory judgment of invalidity of U.S.
 Patent Nos. 9,708,361 (“the ‘361 patent”); 10,385,092 (“the ‘092 patent”); 10,407,461 (“the ‘461
 patent”); 10,487,106 (“the ‘106 patent”); 10,647,741 (“the ‘741 patent”); 10,662,217 (“the ‘217
 patent”); and 10,683,322 (“the ‘322 patent”) (collectively, “the NS Patents”) arising under the
 patent laws of the United States, 35 U.S.C. § 1 et seq. and under the Declaratory Judgment Act,
 28 U.S.C. § 2201 et seq.

        ANSWER: Counter-Defendants admit that Sarepta’s counterclaims purport to assert

 claims for declaratory judgment of invalidity of the ’361 Patent, the ’092 Patent, the ’461 Patent,

 the ’106 Patent, the ’741 Patent, the ’217 Patent, and the ’322 Patent. Counter-Defendants deny

 the remaining allegations in paragraph 2.

         3.     Sarepta further asserts a counterclaim for breach of contract arising under Delaware
 state law.

        ANSWER: Counter-Defendants admit that Sarepta’s counterclaims purport to assert a

 claim for breach of contract arising under Delaware state law. Counter-Defendants deny the

 remaining allegations in paragraph 3.




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                         Responses to Allegations Regarding the Parties

        4.     Sarepta is a corporation organized and existing under the laws of the State of
 Delaware with its principal place of business located at 215 First Street, Cambridge, Massachusetts
 02142.

        ANSWER: On information and belief, admitted.

        5.     UWA is a public research university organized and existing under the laws of
 Australia with its main campus and offices located at 35 Stirling Highway, Crawley, Perth,
 Western Australia 6009. UWA is the assignee and licensor of the UWA Patents.

        ANSWER: On information and belief, admitted.

        6.     Nippon Shinyaku represents in its Second Amended Complaint that it is a Japanese
 company with a principal pace of business at 14, Nishinosho-Monguchi-cho, Kisshoin, Minami-
 ku, Kyoto 601-8550, Japan.

        ANSWER: Counter-Defendants admit the allegations in paragraph 6.

         7.    Nippon Shinyaku represents in its Second Amended Complaint that by virtue of a
 license agreement with NCNP, Nippon Shinyaku holds the exclusive assertion rights for the NS
 Patents.

        ANSWER: Counter-Defendants admit the allegations in paragraph 7.

        8.      Upon information and belief, NS Pharma is a corporation organized and existing
 under the laws of the State of Delaware with its principal place of business at 149 East Ridgewood
 Ave., Suite 280S, Paramus, NJ 07652. Upon information and belief, NS Pharma is a wholly owned
 U.S. subsidiary of Nippon Shinyaku. Upon information and belief, NS Pharma is Nippon
 Shinyaku’s U.S. Agent authorized by the FDA to market Viltepso.

        ANSWER: Counter-Defendants admit that NS Pharma is a corporation organized and

 existing under the laws of the State of Delaware. Counter-Defendants further admit that NS

 Pharma is a wholly-owned subsidiary of Nippon Shinyaku and that NS Pharma is Nippon

 Shinyaku’s U.S. Agent authorized by FDA to market Viltepso. Counter-Defendants admit that

 NS Pharma has a principal place of business at 140 East Ridgewood Ave., Suite 280S, Paramus,

 NJ 07652. Counter-Defendants deny the remaining allegations in paragraph 8.




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                 Responses to Allegations Regarding Jurisdiction and Venue

      9.     There is an actual justiciable controversy between Defendants and Sarepta and
 UWA concerning Defendants’ liability for infringement of the UWA Patents.

        ANSWER:       Counter-Defendants admit that an actual justiciable controversy exists

 between Counter-Defendants and Sarepta and UWA regarding Sarepta and UWA’s allegations

 that Counter-Defendants infringe the UWA Patents.       Counter-Defendants deny liability for

 infringement of the UWA Patents and deny the remaining allegations in paragraph 9.

        10.     Sarepta/UWA’s counterclaims against Defendants for infringement of the UWA
 Patents arise under the patent laws of the United States, 35 U.S.C. § 1 et seq.

        ANSWER: Paragraph 10 contains legal conclusions to which no response is required. To

 the extent a response is required, Counter-Defendants admit that Sarepta/UWA’s counterclaims

 against Counter-Defendants for infringement of the UWA Patents arise under the patent laws of

 the United States, 35 U.S.C. § 1 et seq. Counter-Defendants deny the remaining allegations in

 paragraph 10.

        11.    This Court has subject matter jurisdiction over the patent infringement
 counterclaims under 28 U.S.C. §§ 1331 and 1338(a).

        ANSWER: Paragraph 11 contains legal conclusions to which no response is required. To

 the extent a response is required, Counter-Defendants admit that the Court has subject matter

 jurisdiction over the patent infringement counterclaims under 28 U.S.C. §§ 1331 and 1338(a).

 Counter-Defendants deny any allegations of infringement of the UWA Patents and deny the

 remaining allegations in paragraph 11.

        12.    There is an actual justiciable controversy between Defendants and Sarepta
 concerning the invalidity of the NS Patents as evidenced by Nippon Shinyaku’s allegations in the
 Second Amended Complaint concerning Sarepta’s alleged liability for infringement of the NS
 Patents.

        ANSWER: Paragraph 12 contains legal conclusions to which no response is required. To

 the extent a response is required, Counter-Defendants admit that there is an actual justiciable

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 controversy between Counter-Defendants and Sarepta concerning the invalidity of the NS Patents

 as evidenced by Nippon Shinyaku’s allegations in the Second Amended Complaint concerning

 Sarepta’s liability for infringement of the NS Patents. Counter-Defendants deny the remaining

 allegations in paragraph 12.

         13.    Sarepta’s counterclaim for declaratory judgment of invalidity of the NS Patents
 arises under the patent laws of the United States, 35 U.S.C. § 1 et seq. and under the Declaratory
 Judgment Act, 28 U.S.C. § 2201 et seq.

        ANSWER: Paragraph 13 contains legal conclusions to which no response is required. To

 the extent a response is required, Counter-Defendants admit that Sarepta’s counterclaim for

 declaratory judgment of invalidity of the NS Patents arises under the patent laws of the United

 States, 35 U.S.C. § 1 et seq. and under the Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.

 Counter-Defendants deny the remaining allegations in paragraph 13.

        14.    This Court has subject matter jurisdiction over the declaratory judgment
 counterclaim of invalidity of the NS Patents under 28 U.S.C. §§ 1331, 1338(a), 2201, and 2202.

        ANSWER: Paragraph 14 contains legal conclusions to which no response is required. To

 the extent a response is required, Counter-Defendants admit that this Court has subject matter

 jurisdiction over the declaratory judgment counterclaim of invalidity of the NS Patents under 28

 U.S.C. §§ 1331, 1338(a), 2201, and 2202. Counter-Defendants deny the remaining allegations in

 paragraph 14.

        15.    There is an actual justiciable controversy between Nippon Shinyaku and Sarepta
 concerning Nippon Shinyaku’s breach of contract.

        ANSWER: Paragraph 15 contains legal conclusions to which no response is required. To

 the extent a response is required, Counter-Defendants admit that Sarepta’s counterclaims purport

 to assert a breach of contract claim. Counter-Defendants deny the remaining allegations in

 paragraph 15.



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        16.      Sarepta’s breach of contract counterclaim arises under Delaware state law.

        ANSWER: Paragraph 16 contains legal conclusions to which no response is required. To

 the extent a response is required, Counter-Defendants admit that Sarepta’s counterclaims purport

 to assert a breach of contract claim under Delaware law. Counter-Defendants deny the remaining

 allegations in paragraph 16.

        17.    This Court has subject matter jurisdiction over the breach of contract counterclaim
 under 28 U.S.C. §§ 1332(a) and 1367(a).

        ANSWER: Paragraph 17 contains legal conclusions to which no response is required. To

 the extent a response is required, Counter-Defendants admit that Sarepta’s counterclaims purport

 to assert a breach of contract claim. Counter-Defendants deny the remaining allegations in

 paragraph 17.

       18.     Personal jurisdiction is proper over Nippon Shinyaku at least because Nippon
 Shinyaku has commenced this action and thus submitted to this Court’s personal jurisdiction.

        ANSWER: Paragraph 18 contains legal conclusions to which no response is required. To

 the extent a response is required, Counter-Defendants admit that personal jurisdiction is proper

 over Nippon Shinyaku for purposes of this action only at least because Nippon Shinyaku has

 commenced this action and thus submitted to this Court’s personal jurisdiction.          Counter-

 Defendants deny the remaining allegations in paragraph 18.

         19.    Upon information and belief, personal jurisdiction is proper over NS Pharma, a
 Delaware corporation, at least because it has committed acts of infringement of the UWA Patents
 in Delaware by offering to sell and selling Viltepso (viltolarsen) in the State of Delaware. In
 addition, upon information and belief, Nippon Shinyaku conferred with, and coordinated with, NS
 Pharma in bringing this action and thus NS Pharma has consented to this Court’s personal
 jurisdiction.

        ANSWER: Paragraph 19 contains legal conclusions to which no response is required. To

 the extent a response is required, Counter-Defendants admit that personal jurisdiction is proper

 over NS Pharma for purposes of this action only. Counter-Defendants deny the remaining


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 allegations in paragraph 19.

         20.     Upon information and belief, Nippon Shinyaku directly or through its agents
 including its wholly owned U.S. subsidiary NS Pharma, manufactures, markets, offers to sell, sells,
 and/or distributes Viltepso (viltolarsen) in the State of Delaware and elsewhere in the United
 States, and Viltepso is prescribed by physicians practicing in Delaware and elsewhere in the United
 States, is available at pharmacies or medical facilities located within Delaware and elsewhere in
 the United States, and/or is used by patients in, and/or residents of, Delaware and elsewhere in the
 United States.

        ANSWER: Counter-Defendants admit that Nippon Shinyaku directly or through its agents

 and other third parties manufactures, markets, offers to sell, sells, and/or distributes Viltepso

 (viltolarsen) in the United States. Counter-Defendants also admit that Viltepso is prescribed by

 physicians practicing in the United States, is available at pharmacies or medical facilities in the

 United States, and/or is used by patients in, and/or residents of, Delaware and elsewhere in the

 United States. Counter-Defendants deny the remaining allegations in paragraph 20.

        21.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(c)(3) and 1400(b).

        ANSWER: Paragraph 21 contains legal conclusions to which no response is required. To

 the extent a response is required, Counter-Defendants admit that venue is proper in this Court for

 purposes of this action only. Counter-Defendants deny the remaining allegations in paragraph 21.

                     Responses to Allegations Regarding the UWA Patents

         22.     On June 12, 2018, the USPTO issued the ‘851 patent, entitled “Antisense
 Oligonucleotides for Inducing Exon Skipping and Methods of Use Thereof.” The ‘851 patent is
 assigned to The University of Western Australia. A copy of the ‘851 patent is attached hereto as
 Exhibit A. The ‘851 patent is fully maintained and is valid and enforceable. Sarepta has exclusive
 rights to the ‘851 patent for the treatment of muscular dystrophies and the right to enforce the ‘851
 patent.

        ANSWER:        Counter-Defendants admit that the ’851 patent is entitled “Antisense

 Oligonucleotides for Inducing Exon Skipping and Methods of Use Thereof” and states that it

 issued on June 12, 2018. Counter-Defendants further admit that the face of the ’851 patent lists

 the Assignee as the University of Western Australia and that Sarepta’s Exhibit A purports to be a


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 copy of the ’851 patent. Counter-Defendants deny that the ’851 patent is valid and enforceable.

 Counter-Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the remaining allegations in paragraph 22 and therefore deny the same.

         23.     On March 12, 2019, the USPTO issued the ‘590 patent, entitled “Antisense
 Oligonucleotides for Inducing Exon Skipping and Methods of Use Thereof.” The ‘590 patent is
 assigned to The University of Western Australia. A copy of the ‘590 patent is attached hereto as
 Exhibit B. The ‘590 patent is fully maintained and is valid and enforceable. Sarepta has exclusive
 rights to the ‘590 patent for the treatment of muscular dystrophies and the right to enforce the ‘590
 patent.

        ANSWER:        Counter-Defendants admit that the ’590 patent is entitled “Antisense

 Oligonucleotides for Inducing Exon Skipping and Methods of Use Thereof” and states that it

 issued on March 12, 2019. Counter-Defendants further admit that the face of the ’590 patent lists

 the Assignee as the University of Western Australia and that Sarepta’s Exhibit B purports to be a

 copy of the ’590 patent. Counter-Defendants deny that the ’590 patent is valid and enforceable.

 Counter-Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the remaining allegations in paragraph 23 and therefore deny the same.

         24.     On April 23, 2019, the USPTO issued the ‘827 patent, entitled “Antisense
 Oligonucleotides for Inducing Exon Skipping and Methods of Use Thereof.” The ‘827 patent is
 assigned to The University of Western Australia. A copy of the ‘827 patent is attached hereto as
 Exhibit C. The ‘827 patent is fully maintained and is valid and enforceable. Sarepta has exclusive
 rights to the ‘827 patent for the treatment of muscular dystrophies and the right to enforce the ‘827
 patent.

        ANSWER:        Counter-Defendants admit that the ’827 patent is entitled “Antisense

 Oligonucleotides for Inducing Exon Skipping and Methods of Use Thereof” and states that it

 issued on April 23, 2019. Counter-Defendants further admit that the face of the ’827 patent lists

 the Assignee as the University of Western Australia and that Sarepta’s Exhibit C purports to be a

 copy of the ’827 patent. Counter-Defendants deny that the ’827 patent is valid and enforceable.

 Counter-Defendants are without knowledge or information sufficient to form a belief as to the

 truth of the remaining allegations in paragraph 24 and therefore deny the same.

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         25.    The UWA Patents are listed in the U.S. Food and Drug Administration’s (“FDA”)
 Approved Drug Products with Therapeutic Equivalence Evaluations (“the Orange Book”) for New
 Drug Application (“NDA”) No. 211970 for Sarepta’s Vyondys 53® product, also known as
 golodirsen. Each of the UWA Patents covers, inter alia, an antisense oligonucleotide of 20 to 31
 bases wherein a base sequence comprises at least 12 consecutive bases of SEQ ID NO: 195
 disclosed in the UWA Patents, in which uracil bases are thymine bases, and a method of using it
 for the treatment of Duchenne Muscular Dystrophy (“DMD”) in patients who have a mutation of
 the DMD gene that is amenable to exon 53 skipping.

        ANSWER: Counter-Defendants admit that the UWA Patents are listed in the U.S. Food

 and Drug Administration’s (“FDA”) Approved Drug Products with Therapeutic Equivalence

 Evaluations (“the Orange Book”) for New Drug Application (“NDA”) No. 211970 for Sarepta’s

 Vyondys 53® product, also known as golodirsen. Counter-Defendants further admit that each of

 the claims in the UWA Patents claims, inter alia, an antisense oligonucleotide of 20 to 31 bases,

 wherein the base sequence comprises at least 12 consecutive bases of SEQ ID NO: 195 in which

 uracil bases are thymine bases. Counter-Defendants further admit that the claims of the ’827 patent

 claim a method for treating a patient with DMD in need thereof who has a mutation of the DMD

 gene that is amenable to exon 53 skipping. Counter-Defendants deny the remaining allegations in

 paragraph 25.

             Responses to Allegations Regarding Defendants’ Infringing Product 1

         26.    Upon information and belief, Defendants’ product, Viltepso (viltolarsen), is a
 morpholino antisense oligonucleotide comprising a base sequence that is 100% complementary to
 consecutive bases of a target region of exon 53 of the human dystrophin pre-mRNA. Viltepso
 (viltolarsen) Highlights of Prescribing Information (Aug. 2020), 2 § 11; see also Viltepso
 (viltolarsen) Highlights of Prescribing Information (Mar. 2021) 3. Viltepso contains 21 bases and

 1
   Counter-Defendants have adopted the headings as provided in Counter-Plaintiff’s Counterclaims
 for ease of reference only. Counter-Defendants do not admit any allegation found in any of the
 headings and deny that their product is “infringing.”
 2
    Viltepso (viltolarsen) Highlights of Prescribing Information (Rev. Aug. 2020),
 https://www.accessdata.fda.gov/drugsatfda_docs/label/2020/212154Orig1s000lbl.pdf (last visited
 Jan. 28, 2022).
 3
    Viltepso (viltolarsen) Highlights of Prescribing Information (Rev.               Mar.    2021),
 https://www.viltepso.com/prescribing-information (last visited Jan. 28, 2022).
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CCTCCGGTTCTGAAGGTGTTC as the base sequence. Viltepso (viltolarsen) Highlights of
Prescribing Information (Mar. 2021), § 11.

        ANSWER: Counter-Defendants admit that § 11 of the Viltepso (viltolarsen) Highlights

of Prescribing Information with a revision date of August 2020 and with a revision date of March

2021 states “Viltolarsen is an antisense oligonucleotide of the phosphorodiamidate morpholino

oligomer (PMO) subclass.” Counter-Defendants also admit that § 11 of the Viltepso (viltolarsen)

Highlights of Prescribing Information with a revision date of August 2020 and with a revision date

of March 2021 states “Viltolarsen contains 21 linked subunits.” Counter-Defendants further admit

that   the sequence    of   bases   of    Viltepso   from   the   5’   end   to   the 3’ end    is

CCTCCGGTTCTGAAGGTGTTC.                   Counter-Defendants deny the remaining allegations in

paragraph 26.

       27.     Upon information and belief, Viltepso induces exon 53 skipping in a human
dystrophin pre-mRNA. Id. § 12.1.

        ANSWER: Counter-Defendants admit that § 12.1 of the Viltepso (viltolarsen) Highlights

of Prescribing Information with a revision date of August 2020 and with a revision date of March

2021 states “VILTEPSO is designed to bind to exon 53 of dystrophin pre-mRNA resulting in

exclusion of this exon during mRNA processing in patients with genetic mutations that are

amenable to exon 53 skipping.” Counter-Defendants deny the remaining allegations in paragraph

27.

        28.    Upon information and belief, Viltepso is administered to DMD patients who have
a confirmed mutation of the DMD gene that is amenable to exon 53 skipping and induces skipping
of exon 53 of dystrophin pre-mRNA. Id. §§ 1, 12.1. Defendants’ label for Viltepso has encouraged
and continues to encourage such use.

        ANSWER:        Counter-Defendants admit that Viltepso (viltolarsen) Highlights of

Prescribing Information with a revision date of August 2020 and with a revision date of March

2021 states in § 1 that “VILTEPSO is indicated for the treatment of Duchenne muscular dystrophy


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(DMD) in patients who have a confirmed mutation of the DMD gene that is amenable to exon 53

skipping,” and § 12.1 states “VILTEPSO is designed to bind to exon 53 of dystrophin pre-mRNA

resulting in exclusion of this exon during mRNA processing in patients with genetic mutations that

are amenable to exon 53 skipping. Exon 53 skipping is intended to allow for production of an

internally truncated dystrophin protein in patients with genetic mutations that are amenable to exon

53 skipping.” Counter-Defendants deny the remaining allegations in paragraph 28.

       29.    Upon information and belief, Defendants conducted pre-clinical and clinical
development of Viltepso (viltolarsen), including clinical trials, to generate data in support of their
submission of an NDA with the FDA for Viltepso (viltolarsen).

       ANSWER:     Counter-Defendants admit that Nippon Shinyaku conducted pre-clinical and

clinical development of Viltepso (viltolarsen), including clinical trials, to generate data in support

of the submission of an NDA with the FDA for Viltepso (viltolarsen). Counter-Defendants deny

that NS Pharma was involved in the pre-clinical development of Viltepso. Counter-Defendants

deny the remaining allegations in paragraph 29.

        30.    Upon information and belief, on October 2, 2019, Nippon Shinyaku announced that
it had submitted a rolling NDA for Viltepso (viltolarsen) with the FDA. Nippon Shinyaku News
Release (Oct. 2, 2019).4

       ANSWER:         Counter-Defendants admit that the article cited in Counter-Plaintiffs’

counterclaims titled “U.S. FDA Submission of New Drug Application for NS-065/NCNP-01

(viltolarsen)” dated October 2, 2019 states that Nippon Shinyaku “announced that it has completed

the submission of its rolling New Drug Application (NDA) to the U.S. Food and Drug

Administration (FDA) for NS-065/NCNP-01 (viltolarsen).”              Counter-Defendants deny the

remaining allegations in paragraph 30.




4
    Nippon      Shinyaku     Press    Release    (Oct.      2,    2019),    https://www.nippon-
shinyaku.co.jp/file/download.php?file_id=3838 (last visited Jan. 28, 2022).
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         31.   On August 12, 2020, the FDA announced it had granted accelerated approval to
Viltepso for the treatment of DMD in patients who have a confirmed mutation of the DMD gene
that is amenable to exon 53 skipping. FDA News Release (Aug. 12, 2020). 5

       ANSWER:       Counter-Defendants admit that the article cited in Counter-Plaintiffs’

counterclaims titled “FDA Approves Targeted Treatment for Rare Duchenne Muscular Dystrophy

Mutation” dated August 12, 2020 states that “[t]oday, the U.S. Food and Drug Administration

granted accelerated approval to Viltepso (viltolarsen) injection for the treatment of Duchenne

muscular dystrophy (DMD) in patients wo have a confirmed mutation of the DMD gene that is

amenable to exon 53 skipping.” Counter-Defendants deny the remaining allegations in paragraph

31.

       32.     Upon information and belief, Nippon Shinyaku announced that NS Pharma, a
wholly owned U.S. subsidiary of Nippon Shinyaku, had launched Viltepso for commercial sales
in the United States as of August 19, 2020. Nippon Shinyaku News Release (Aug. 20, 2020). 6
Upon information and belief, NS Pharma is Nippon Shinyaku’s U.S. Agent authorized by the FDA
to market Viltepso. Id.

       ANSWER:       Counter-Defendants admit that the article cited in Counter-Plaintiffs’

counterclaims titled “VILTEPSO™ (viltolarsen) injection Now Commercially Available in the

U.S.” dated August 20, 2020 states that “Nippon Shinyaku Co., Ltd. . . . announced today that NS

Pharma, Inc. . . . a wholly owned subsidiary of Nippon Shinyaku made VILTEPSO™ (viltolarsen)

now available for commercial sales in the United States market as of August 19 (EST).” Counter-

Defendants further admit that NS Pharma is Nippon Shinyaku’s U.S. Agent authorized by the FDA

to market Viltepso. Counter-Defendants deny the remaining allegations in paragraph 32.




5
    FDA News Release (Aug. 12, 2020), https://www.fda.gov/news-events/press-
announcements/fda-approves-targeted-treatment-rare-duchenne-muscular-dystrophy-mutation
(last visited Jan. 28, 2022).
6
    Nippon      Shinyaku    Press    Release    (Aug.      20,    2020),    https://www.nippon-
shinyaku.co.jp/file/download.php?file_id=3868 (last visited Jan. 28, 2022).
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         33.     Upon information and belief, since at least August 2020, Defendants have
encouraged physicians to treat DMD patients by administering Viltepso to induce skipping of exon
53 of dystrophin pre-mRNA including through their labels for Viltepso. Defendants have also
facilitated pricing and reimbursement of Viltepso in the United States.

       ANSWER: Paragraph 33 contains legal conclusions to which no response is required. To

the extent a response is required, Counter-Defendants admit that VILTEPSO is indicated for the

treatment of Duchenne muscular dystrophy (DMD) in patients who have a confirmed mutation of

the DMD gene that is amenable to exon 53 skipping. Counter-Defendants deny the remaining

allegations in paragraph 33.

      Responses to Allegations Regarding Defendants’ Awareness of the UWA Patents

         34.     Upon information and belief, Defendants have been familiar with and knew of the
UWA Patents prior to this litigation. Upon information and belief, Defendants believed prior to
this litigation that one or more claims of the UWA Patents covered Viltepso (viltolarsen). When
the UWA Patents issued in 2018 and 2019, for example, Defendants’ NDA seeking marketing
approval for viltolarsen was under regulatory review in the United States. Upon information and
belief, Defendants became aware of the UWA Patents after the UWA Patents were submitted for
listing in the FDA Orange Book for Vyondys 53® in December 2019. Upon information and
belief, Defendants expected that their Viltepso (viltolarsen) product, if approved, would compete
directly with Sarepta’s Vyondys 53® (golodirsen) product. Upon information and belief,
Defendants learned of the UWA Patents through their efforts to research and/or monitor third-
party U.S. patents that could potentially interfere with their ability to market Viltepso (viltolarsen)
in the United States.

       ANSWER: Counter-Defendants admit that they were aware of the UWA Patents by at

least September 2019. Counter-Defendants further admit that the UWA Patents include claims

aimed at capturing VILTEPSO. Counter-Defendants admit that the NDA seeking marketing

approval for viltolarsen was under regulatory review in the United States in 2018 and 2019.

Counter-Defendants further admit that Nippon Shinyaku and Sarepta are direct competitors in

certain markets for antisense oligonucleotide-based therapies for the treatment of DMD. Counter-

Defendants deny the remaining allegations in paragraph 34.




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        35.   Sarepta and Nippon Shinyaku entered into a Mutual Confidentiality Agreement
(“MCA”) effective June 1, 2020. Upon information and belief, Defendants were already aware of
the UWA Patents when Sarepta and Nippon Shinyaku began business discussions under the MCA
in June 2020.

       ANSWER: Counter-Defendants admit that Sarepta and Nippon Shinyaku entered into a

Mutual Confidentiality Agreement (“MCA”) effective June 1, 2020. Counter-Defendants further

admit that they were aware of the UWA Patents at least as of September 2019. Counter-

Defendants deny the remaining allegations in paragraph 35.

          RESPONSES TO ALLEGATIONS REGARDING COUNTERCLAIM I
                        (Infringement of the ‘851 Patent)

        36.     Sarepta and UWA reallege each of the foregoing Paragraphs 1-35 as if fully set
forth herein.

       ANSWER: Counter-Defendants incorporate by reference their answers to the allegations

of Paragraphs 1-35 as if fully set forth herein.

      37.    Sarepta and UWA incorporate by reference Sarepta’s answers and responses to
Nippon Shinyaku’s Second Amended Complaint (“SAC”) as if fully set forth herein.

       ANSWER:          Counter-Defendants incorporate by reference the Second Amended

Complaint as if fully set forth herein.

       38.      Claim 1 of the ‘851 patent recites:

                An antisense oligonucleotide of 20 to 31 bases comprising a base sequence
                that is 100% complementary to consecutive bases of a target region of
                exon 53 of the human dystrophin pre-mRNA, wherein the target region is
                within annealing site H53A(+23+47) and annealing site H53A(+39+69),
                wherein the base sequence comprises at least 12 consecutive bases of CUG
                AAG GUG UUC UUG UAC UUC AUC C (SEQ ID NO: 195), in which
                uracil bases are thymine bases, wherein the antisense oligonucleotide is a
                morpholino antisense oligonucleotide, and wherein the antisense
                oligonucleotide induces exon 53 skipping; or a pharmaceutically
                acceptable salt thereof.

       ANSWER: Counter-Defendants admit that paragraph 38 quotes claim 1 of the ’851 patent.

       39.     Upon information and belief, Viltepso satisfies each element of at least claim 1 of
the ‘851 patent.

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       ANSWER: Counter-Defendants deny the allegations in paragraph 39.

       40.    Viltolarsen is an antisense oligonucleotide of the phosphorodiamidate morpholino
oligomer (PMO) subclass. See Viltepso (viltolarsen) Highlights of Prescribing Information (Rev.
Mar. 2021), § 11. Viltolarsen contains 21 linked subunits. Id. The base sequence of viltolarsen is
CCTCCGGTTCTGAAGGTGTTC, which includes CTGAAGGTGTTC as 12 consecutive bases.
Id.

       ANSWER: Counter-Defendants admit that § 11 of the Viltepso (viltolarsen) Highlights

of Prescribing Information with a revision date of March 2021 states “Viltolarsen is an antisense

oligonucleotide of the phosphorodiamidate morpholino oligomer (PMO) subclass.” Counter-

Defendants also admit that § 11 of the Viltepso (viltolarsen) Highlights of Prescribing Information

with a revision date of March 2021 states “Viltolarsen contains 21 linked subunits.” Counter-

Defendants further admit that the sequence of bases of Viltepso from the 5’ end to the 3’ end is

CCTCCGGTTCTGAAGGTGTTC.                 Counter-Defendants deny the remaining allegations in

paragraph 40.

       41.    Viltepso is designed to bind to exon 53 of dystrophin pre-mRNA resulting in
exclusion of this exon during mRNA processing in patients with genetic mutations that are
amenable to exon 53 skipping. Id. § 12.1.

       ANSWER:         Counter-Defendants admit that Viltepso (viltolarsen) Highlights of

Prescribing Information with a revision date of March 2021 states in § 12.1 that “VILTEPSO is

designed to bind to exon 53 of dystrophin pre-mRNA resulting in exclusion of this exon during

mRNA processing in patients with genetic mutations that are amenable to exon 53 skipping. Exon

53 skipping is intended to allow for production of an internally truncated dystrophin protein in

patients with genetic mutations that are amenable to exon 53 skipping.” Counter-Defendants deny

the remaining allegations in paragraph 41.




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       42.     Viltepso is indicated for the treatment of DMD in patients who have a confirmed
mutation of the DMD gene that is amenable to exon 53 skipping. Id. § 1.

       ANSWER:         Counter-Defendants admit that Viltepso (viltolarsen) Highlights of

Prescribing Information with a revision date of March 2021 states in § 1 that “VILTEPSO is

indicated for the treatment of Duchenne muscular dystrophy (DMD) in patients who have a

confirmed mutation of the DMD gene that is amenable to exon 53 skipping.” Counter-Defendants

deny the remaining allegations in paragraph 42.

        43.     Upon information and belief, Defendants have directly infringed and continue to
directly infringe at least claim 1 of the ‘851 patent, either literally or under the doctrine of
equivalents, by engaging in the commercial manufacture, use, offer for sale, sale, and/or
importation of Viltepso in the United States in violation of 35 U.S.C. § 271(a).

       ANSWER: Counter-Defendants deny the allegations in paragraph 43.

         44.    Upon information and belief, Defendants knew or should have known of the
existence of the ‘851 patent at least as of the date of its issuance. For example, upon information
and belief, Defendants learned of the ‘851 patent through their monitoring of third-party patent
rights, including the UWA Patents, and their efforts to obtain approval for, and market, viltolarsen
in the United States. Upon information and belief, Defendants were aware of the ‘851 patent before
June 2020 when Nippon Shinyaku and Sarepta began business discussions under the MCA.

       ANSWER: Counter-Defendants admit that they were aware of the ’851 patent by at least

September 2019. Counter-Defendants deny the remaining allegations in paragraph 44.

        45.    Viltepso is approved for use in the treatment of DMD in patients who have a
confirmed mutation of the DMD gene that is amenable to exon 53 skipping. See Viltepso
(viltolarsen) Highlights of Prescribing Information (Rev. Mar. 2021), § 1. Upon information and
belief, Viltepso has no substantial non-infringing uses, and Defendants know that Viltepso is
especially made or especially adapted for use in infringement of the ‘851 patent.

       ANSWER:         Counter-Defendants admit that Viltepso (viltolarsen) Highlights of

Prescribing Information with a revision date of March 2021 states in § 1 that “VILTEPSO is

indicated for the treatment of Duchenne muscular dystrophy (DMD) in patients who have a

confirmed mutation of the DMD gene that is amenable to exon 53 skipping.” Counter-Defendants

deny the remaining allegations in paragraph 45.


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        46.     Upon information and belief, Defendants’ sale, offer for sale, and/or distribution of
Viltepso includes labeling indicating that it is approved by the FDA to treat DMD in patients who
have a confirmed mutation of the dystrophin gene that is amenable to exon 53 skipping and
instructs physicians and patients to use Viltepso to treat DMD. Id. Upon information and belief,
Defendants specifically intend that Viltepso be used to treat DMD with the knowledge that it would
infringe the ‘851 patent.

       ANSWER: Counter-Defendants admit that Viltepso is sold, offered for sale, and/or

distributed in the United States and that its Highlights of Prescribing Information with a revision

date of March 2021 states in § 1 that “VILTEPSO is indicated for the treatment of Duchenne

muscular dystrophy (DMD) in patients who have a confirmed mutation of the DMD gene that is

amenable to exon 53 skipping.” Counter-Defendants deny the remaining allegations in paragraph

46.

         47.    Upon information and belief, Defendants have induced and/or contributed to and
continue to induce and/or contribute to infringement of at least claim 1 of the ‘851 patent, either
literally or under the doctrine of equivalents, in violation of 35 U.S.C. §§ 271(b) and/or (c).

       ANSWER: Counter-Defendants deny the allegations in paragraph 47.

        48.    Upon information and belief, Defendants’ infringement of the ‘851 patent has been
willful and continues to be willful, entitling Sarepta and UWA to enhanced damages pursuant to
35 U.S.C. § 284. Upon information and belief, Defendants knew or should have known that their
conduct related to the development, manufacture, use, offer for sale, sale, and/or importation of
Viltepso constituted an unreasonable risk of infringement of at least claim 1 of the ‘851 patent.

       ANSWER: Counter-Defendants deny the allegations in paragraph 48.

        49.     This case is exceptional and Sarepta and UWA are entitled to attorneys’ fees and
costs incurred in prosecuting this action pursuant to 35 U.S.C. § 285.

       ANSWER: Counter-Defendants deny the allegations in paragraph 49.




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          RESPONSES TO ALLEGATIONS REGARDING COUNTERCLAIM II
                        (Infringement of the ‘590 Patent)

        50.     Sarepta and UWA reallege each of the foregoing Paragraphs 1-49 as if fully set
forth herein.

       ANSWER: Counter-Defendants incorporate by reference their answers to the allegations

of Paragraphs 1-49 as if fully set forth herein.

      51.    Sarepta and UWA incorporate by reference Sarepta’s answers and responses to
Nippon Shinyaku’s Second Amended Complaint as if fully set forth herein.

       ANSWER:          Counter-Defendants incorporate by reference the Second Amended

Complaint as if fully set forth herein.

       52.      Claim 1 of the ‘590 patent recites:

                An antisense oligonucleotide of 20 to 31 bases comprising a base sequence
                that is 100% complementary to consecutive bases of a target region of
                exon 53 of the human dystrophin pre-mRNA, wherein the base sequence
                comprises at least 12 consecutive bases of CUG AAG GUG UUC UUG
                UAC UUC AUC C (SEQ ID NO: 195), in which uracil bases are thymine
                bases, wherein the antisense oligonucleotide is a morpholino antisense
                oligonucleotide, and wherein the antisense oligonucleotide induces exon
                53 skipping; or a pharmaceutically acceptable salt thereof.

       ANSWER: Counter-Defendants admit that paragraph 52 quotes claim 1 of the ’590 patent.

       53.     Upon information and belief, Viltepso satisfies each element of at least claim 1 of
the ‘590 patent.

       ANSWER: Counter-Defendants deny the allegations in paragraph 53.

       54.    Viltolarsen is an antisense oligonucleotide of the phosphorodiamidate morpholino
oligomer (PMO) subclass. See Viltepso (viltolarsen) Highlights of Prescribing Information (Rev.
Mar. 2021), § 11. Viltolarsen contains 21 linked subunits. Id. The base sequence of viltolarsen is
CCTCCGGTTCTGAAGGTGTTC, which includes CTGAAGGTGTTC as 12 consecutive bases.
Id.

       ANSWER: Counter-Defendants admit that § 11 of the Viltepso (viltolarsen) Highlights

of Prescribing Information with a revision date of March 2021 states “Viltolarsen is an antisense

oligonucleotide of the phosphorodiamidate morpholino oligomer (PMO) subclass.” Counter-


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Defendants also admit that § 11 of the Viltepso (viltolarsen) Highlights of Prescribing Information

with a revision date of March 2021 states “Viltolarsen contains 21 linked subunits.” Counter-

Defendants further admit that the sequence of bases of Viltepso from the 5’ end to the 3’ end is

CCTCCGGTTCTGAAGGTGTTC.                 Counter-Defendants deny the remaining allegations in

paragraph 54.

       55.    Viltepso is designed to bind to exon 53 of dystrophin pre-mRNA resulting in
exclusion of this exon during mRNA processing in patients with a genetic mutation that is
amenable to exon 53 skipping. Id. § 12.1.

       ANSWER:         Counter-Defendants admit that Viltepso (viltolarsen) Highlights of

Prescribing Information with a revision date of March 2021 states in § 12.1 that “VILTEPSO is

designed to bind to exon 53 of dystrophin pre-mRNA resulting in exclusion of this exon during

mRNA processing in patients with genetic mutations that are amenable to exon 53 skipping. Exon

53 skipping is intended to allow for production of an internally truncated dystrophin protein in

patients with genetic mutations that are amenable to exon 53 skipping.” Counter-Defendants deny

the remaining allegations in paragraph 55.

       56.     Viltepso is indicated for the treatment of DMD in patients who have a confirmed
mutation of the DMD gene that is amenable to exon 53 skipping. Id. § 1.

       ANSWER:         Counter-Defendants admit that Viltepso (viltolarsen) Highlights of

Prescribing Information with a revision date of March 2021 states in § 1 that “VILTEPSO is

indicated for the treatment of Duchenne muscular dystrophy (DMD) in patients who have a

confirmed mutation of the DMD gene that is amenable to exon 53 skipping.” Counter-Defendants

deny the remaining allegations in paragraph 56.

        57.     Upon information and belief, Defendants have directly infringed and continue to
directly infringe at least claim 1 of the ‘590 patent, either literally or under the doctrine of
equivalents, by engaging in the commercial manufacture, use, offer for sale, sale, and/or
importation of Viltepso in the United States in violation of 35 U.S.C. § 271(a).

       ANSWER: Counter-Defendants deny the allegations in paragraph 57.

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         58.    Upon information and belief, Defendants knew or should have known of the
existence of the ‘590 patent at least as of the date of its issuance. For example, upon information
and belief, Defendants learned of the ‘590 patent through their monitoring of third-party patent
rights, including the UWA Patents, and their efforts to obtain approval for, and market, viltolarsen
in the United States. Upon information and belief, Defendants were aware of the ‘590 patent before
June 2020 when Nippon Shinyaku and Sarepta began business discussions under the MCA.
         ANSWER: Counter-Defendants admit that they were aware of the ’590 patent by at least

September 2019. Counter-Defendants deny the remaining allegations in paragraph 58.

        59.      Viltepso is approved for use in the treatment of DMD in patients who have a
confirmed mutation of the DMD gene that is amenable to exon 53 skipping. See Viltepso
(viltolarsen) Highlights of Prescribing Information (Rev. Mar. 2021), § 1. Upon information and
belief, viltolarsen has no substantial non-infringing uses, and Defendants know that viltolarsen is
especially made or especially adapted for use in infringement of the ‘590 patent.

       ANSWER:         Counter-Defendants admit that Viltepso (viltolarsen) Highlights of

Prescribing Information with a revision date of March 2021 states in § 1 that “VILTEPSO is

indicated for the treatment of Duchenne muscular dystrophy (DMD) in patients who have a

confirmed mutation of the DMD gene that is amenable to exon 53 skipping.” Counter-Defendants

deny the remaining allegations in paragraph 59.

        60.     Upon information and belief, Defendants’ sale, offer for sale, and/or distribution of
Viltepso includes labeling indicating that it is approved by the FDA to treat DMD in patients who
have a confirmed mutation of the dystrophin gene that is amenable to exon 53 skipping and
instructs physicians and patients to use Viltepso to treat DMD. Id. Upon information and belief,
Defendants specifically intend that Viltepso be used to treat DMD with the knowledge that it would
infringe the ‘590 patent.

       ANSWER: Counter-Defendants admit that Viltepso is sold, offered for sale, and/or

distributed in the United States and that its Highlights of Prescribing Information with a revision

date of March 2021 states in § 1 that “VILTEPSO is indicated for the treatment of Duchenne

muscular dystrophy (DMD) in patients who have a confirmed mutation of the DMD gene that is

amenable to exon 53 skipping.” Counter-Defendants deny the remaining allegations in paragraph

60.




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         61.    Upon information and belief, Defendants have induced and/or contributed to and
continue to induce and/or contribute to infringement of at least claim 1 of the ‘590 patent, either
literally or under the doctrine of equivalents, in violation of 35 U.S.C. §§ 271(b) and/or (c).

       ANSWER: Counter-Defendants deny the allegations in paragraph 61.

        62.    Upon information and belief, Defendants’ infringement of the ‘590 patent has been
willful and continues to be willful, entitling Sarepta and UWA to enhanced damages pursuant to
35 U.S.C. § 284. Upon information and belief, Defendants knew or should have known that their
conduct related to the development, manufacture, use, offer for sale, sale, and/or importation of
Viltepso constituted an unreasonable risk of infringement of at least claim 1 of the ‘590 patent.

       ANSWER: Counter-Defendants deny the allegations in paragraph 62.

        63.     This case is exceptional and Sarepta and UWA are entitled to attorneys’ fees and
costs incurred in prosecuting this action pursuant to 35 U.S.C. § 285.

       ANSWER: Counter-Defendants deny the allegations in paragraph 63.

         RESPONSES TO ALLEGATIONS REGARDING COUNTERCLAIM III
                       (Infringement of the ‘827 Patent)

        64.     Sarepta and UWA reallege each of the foregoing Paragraphs 1-63 as if fully set
forth herein.

       ANSWER: Counter-Defendants incorporate by reference their answers to the allegations

of Paragraphs 1-63 as if fully set forth herein.

      65.    Sarepta and UWA incorporate by reference Sarepta’s answer and responses to
Nippon Shinyaku’s Second Amended Complaint as if fully set forth herein.

       ANSWER:          Counter-Defendants incorporate by reference the Second Amended

Complaint as if fully set forth herein.

       66.      Claim 1 of the ‘827 patent recites:

                A method for treating a patient with Duchenne muscular dystrophy
                (DMD) in need thereof who has a mutation of the DMD gene that is
                amenable to exon 53 skipping, comprising administering to the patient an
                antisense oligonucleotide of 20 to 31 bases comprising a base sequence
                that is 100% complementary to consecutive bases of a target region of
                exon 53 of the human dystrophin pre-mRNA, wherein the base sequence
                comprises at least 12 consecutive bases of CUG AAG GUG UUC UUG
                UAC UUC AUC C (SEQ ID NO: 195), in which uracil bases are thymine
                bases, wherein the antisense oligonucleotide is a morpholino antisense

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               oligonucleotide, and wherein the antisense oligonucleotide induces exon
               53 skipping; or a pharmaceutically acceptable salt thereof.

       ANSWER: Counter-Defendants admit that paragraph 66 quotes claim 1 of the ’827 patent.

        67.     Upon information and belief, the use of Viltepso satisfies each element of, and
directly infringes, either literally or under the doctrine of equivalents, at least claim 1 of the ‘827
patent.

       ANSWER: Counter-Defendants deny the allegations in paragraph 67.

       68.     Viltepso is indicated for the treatment of DMD in patients who have a confirmed
mutation of the DMD gene that is amenable to exon 53 skipping. See Viltepso (viltolarsen)
Highlights of Prescribing Information (Rev. Mar. 2021), § 1.

       ANSWER:          Counter-Defendants admit that Viltepso (viltolarsen) Highlights of

Prescribing Information with a revision date of March 2021 states in § 1 that “VILTEPSO is

indicated for the treatment of Duchenne muscular dystrophy (DMD) in patients who have a

confirmed mutation of the DMD gene that is amenable to exon 53 skipping.” Counter-Defendants

deny the remaining allegations in paragraph 68.

         69.    Upon information and belief, Defendants knew or should have known of the
existence of the ‘827 patent at least as of the date of its issuance. For example, upon information
and belief, Defendants learned of the ‘827 patent through their monitoring of third-party patent
rights, including the UWA Patents, and their efforts to obtain approval for, and market, viltolarsen
in the United States. Upon information and belief, Defendants were aware of the ‘827 patent before
June 2020 when Nippon Shinyaku and Sarepta began business discussions under the MCA.

       ANSWER: Counter-Defendants admit that they were aware of the ’827 patent by at least

September 2019. Counter-Defendants deny the remaining allegations in paragraph 69.

        70.      Viltepso is approved for use in the treatment of DMD in patients who have a
confirmed mutation of the DMD gene that is amenable to exon 53 skipping. Id. Upon information
and belief, viltolarsen has no substantial non-infringing uses, and Defendants know that viltolarsen
is especially made or especially adapted for use in infringement of the ‘827 patent.

       ANSWER:          Counter-Defendants admit that Viltepso (viltolarsen) Highlights of

Prescribing Information with a revision date of March 2021 states in § 1 that “VILTEPSO is

indicated for the treatment of Duchenne muscular dystrophy (DMD) in patients who have a


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confirmed mutation of the DMD gene that is amenable to exon 53 skipping.” Counter-Defendants

deny the remaining allegations in paragraph 70.

        71.     Upon information and belief, Defendants’ sale, offer for sale, and/or distribution of
Viltepso includes labeling indicating that it is approved by the FDA to treat DMD in patients who
have a confirmed mutation of the dystrophin gene that is amenable to exon 53 skipping and
instructs physicians and patients to use Viltepso to treat DMD. Id. Upon information and belief,
Defendants specifically intend that Viltepso be used to treat DMD with the knowledge that it would
infringe the ‘827 patent.

       ANSWER: Counter-Defendants admit that Viltepso is sold, offered for sale, and/or

distributed in the United States and that its Highlights of Prescribing Information with a revision

date of March 2021 states in § 1 that “VILTEPSO is indicated for the treatment of Duchenne

muscular dystrophy (DMD) in patients who have a confirmed mutation of the DMD gene that is

amenable to exon 53 skipping.” Counter-Defendants deny the remaining allegations in paragraph

71.

         72.    Upon information and belief, Defendants have induced and/or contributed to and
continue to induce and/or contribute to infringement of at least claim 1 of the ‘827 patent, either
literally or under the doctrine of equivalents, in violation of 35 U.S.C. §§ 271(b) and/or (c).

       ANSWER: Counter-Defendants deny the allegations in paragraph 72.

        73.    Upon information and belief, Defendants’ infringement of the ‘827 patent has been
willful and continues to be willful, entitling Sarepta and UWA to enhanced damages pursuant to
35 U.S.C. § 284. Upon information and belief, Defendants knew or should have known that their
conduct related to the development, manufacture, use, offer for sale, sale, and/or importation of
Viltepso constituted an unreasonable risk of infringement of at least claim 1 of the ‘827 patent.

       ANSWER: Counter-Defendants deny the allegations in paragraph 73.

        74.     This case is exceptional and Sarepta and UWA are entitled to attorneys’ fees and
costs incurred in prosecuting this action pursuant to 35 U.S.C. § 285.

       ANSWER: Counter-Defendants deny the allegations in paragraph 74.




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         RESPONSES TO ALLEGATIONS REGARDING COUNTERCLAIM IV
                    (Declaration of Invalidity of the NS Patents)

       75.     Sarepta realleges each of the foregoing Paragraphs 1-74 as if fully set forth herein.

       ANSWER: Counter-Defendants incorporate by reference their answers to the allegations

of Paragraphs 1-74 as if fully set forth herein.

      76.   Sarepta incorporates by reference its answers and responses to Nippon Shinyaku’s
Second Amended Complaint.

       ANSWER:          Counter-Defendants incorporate by reference the Second Amended

Complaint as if fully set forth herein.

        77.    Each claim of the NS Patents is invalid for failure to comply with one or more
requirements of the patent laws of the United States, including without limitation, 35 U.S.C. §§
101, 102, 103, 112, and/or obviousness-type double patenting, and the rules, regulations, and laws
pertaining thereto.

       ANSWER: Counter-Defendants deny the allegations in paragraph 77.

        78.     By way of example, the claims of the NS Patents are invalid under 35 U.S.C. §§
102 and/or 103 in view of Popplewell, L.J., Comparative Analysis of Antisense Oligonucleotide
Sequences Targeting Exon 53 of the Human DMD Gene: Implications for Future Clinical Trials,
Neuromuscular Disorders 20:102–110 (2010) (“Popplewell”) and Sazani, P., Safety Pharmacology
and Genotoxicity Evaluation of AVI-4658, Int’l J. Toxicology 29(2):143–156 (2010) (“Sazani”),
alone or in combination with other prior art, for at least the reasons set forth in Sarepta’s IPR
Petitions challenging the NS Patents. In granting Sarepta’s IPR Petitions challenging all claims of
all seven NS Patents, for example, the Patent Trial and Appeal Board found Sarepta’s arguments
and evidence of unpatentability persuasive, concluding in each institution decision that Sarepta
“has demonstrated a reasonable likelihood of success in proving that the challenged claims of the
[patent] are unpatentable.” See Sarepta Therapeutics, Inc. v. Nippon Shinyaku Co., Ltd., Decisions
Granting Institution in IPR2021-01134, Paper No. 20 (Jan. 12, 2022); IPR2021-01135, Paper No.
20 (Jan. 12, 2022); IPR2021-01136, Paper No. 19 (Jan. 13, 2022); IPR2021-01137, Paper No. 18
(Jan. 13, 2022); IPR2021-01138, Paper No. 18 (Jan. 13, 2022); IPR2021-01139, Paper No. 18 (Jan.
13, 2022); and IPR2021-01140, Paper No. 18 (Jan. 12, 2022).

       ANSWER: Counter-Defendant admits that the Patent Trial and Appeal Board stated in

the Institution Decisions for the IPR Petitions that Sarepta “has demonstrated a reasonable

likelihood of success in proving that the challenged claims of the [patent] are unpatentable.”

Counter-Defendants deny the remaining allegations in paragraph 78.


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        79.     An actual case or controversy exists between Sarepta and Defendants as to whether
the claims of the NS Patents are invalid.

       ANSWER: Paragraph 79 contains legal conclusions to which no response is required. To

the extent a response is required, Counter-Defendants admit that there is an actual case or

controversy between Counter-Defendants and Sarepta concerning the invalidity of the NS Patents.

Counter-Defendants deny the remaining allegations in paragraph 79.

        80.    Sarepta is entitled to a declaratory judgment that the claims of the NS Patents are
invalid.

       ANSWER: Counter-Defendants deny the allegations of paragraph 80.

       81.     This case is exceptional and Sarepta is entitled to attorneys’ fees and costs incurred

in prosecuting this action pursuant to 35 U.S.C. § 285.

       ANSWER: Counter-Defendants deny the allegations of paragraph 81.

          RESPONSES TO ALLEGATIONS REGARDING COUNTERCLAIM V
                            (Breach of Contract)

       82.     Sarepta realleges each of the foregoing Paragraphs 1-81 as if fully set forth herein.

       ANSWER: Counter-Defendants incorporate by reference their answers to the allegations

of Paragraphs 1-81 as if fully set forth herein.

      83.     Sarepta incorporates by reference its answers and responses in Sarepta’s Answer
and Counterclaims to Nippon Shinyaku’s Second Amended Complaint as fully set forth herein.

       ANSWER:          Counter-Defendants incorporate by reference the Second Amended

Complaint as if fully set forth herein.

       84.     Sarepta asserts a claim for breach of contract arising under Delaware state law. This
Court has subject matter jurisdiction over this breach of contract claim under 28 U.S.C. §§ 1332(a)
and 1367(a).

       ANSWER: Paragraph 84 contains legal conclusions to which no response is required. To

the extent a response is required, Counter-Defendants admit that Sarepta’s counterclaims purport

to assert a breach of contract claim arising under Delaware state law. Counter-Defendants deny

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the remaining allegations in paragraph 84.

        85.  This claim for breach of contract arises out of Nippon Shinyaku’s material breach
of the MCA with Sarepta.

        ANSWER: Counter-Defendants deny the allegations in paragraph 85.

       86.   Properly interpreted, the MCA is a valid and enforceable contract between Sarepta
and Nippon Shinyaku.

        ANSWER: Counter-Defendants admit that the MCA is a valid and enforceable contract

between Sarepta and Nippon Shinyaku. Counter-Defendants deny any remaining allegations in

paragraph 86.

       87.      Sections 1-3 of the MCA define “Confidential Information” and proscribe improper
disclosures or uses of confidential information beyond the permitted purposes. Section 2.2, entitled
“Obligations of Confidentiality and Non-Use,” states among other relevant provisions that:

                 The Parties intend and agree that this Agreement, the Proposed
                 Transaction and all disclosures, including all meetings, discussions,
                 correspondence, communications, documents, or other materials
                 exchanged between the Parties made in connection with this Agreement
                 and the Proposed Transaction shall not be submitted, referenced, admitted
                 or otherwise used by the Recipient, its Affiliates, or their respective
                 Representatives against the other Party in any legal action, except in an
                 action to enforce the terms of this Agreement, and shall be treated as
                 conducted in the aid of negotiation and shall be governed by and entitled
                 to the protections and privileges of Delaware Rule of Evidence 408 and
                 Federal Rule of Evidence 408, as well as any and all analogous or
                 applicable privileges or additional limitations on use and disclosure set
                 forth herein. Furthermore, regardless of whether the Proposed Transaction
                 leads to any arrangement or resolution of issues, the fact that these
                 confidential Proposed Transactions occurred shall not be referenced in any
                 legal action currently pending, including but not limited to the EP
                 Oppositions, the JP Actions, or the Potential Actions. Neither Party nor
                 their Affiliates or Representatives shall in any way attempt to place into
                 evidence any document, fact, statement or opinion in any way relating to
                 the Proposed Transaction for any purpose, regardless of whether such
                 document, fact, statement or opinion would be admissible under FRE 408
                 or any other analogous or applicable privilege.

D.I. 2-1 at 3.




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       ANSWER: Counter-Defendants admit that paragraph 87 recites a portion of Section 2.2

of the MCA. Counter-Defendants further admit that the term “Confidential Information” is listed

in Section 1 of the MCA along with a definition of the term. Counter-Defendants also admit that

the title of Section 2 of the MCA recites “Obligations of Confidentiality and Non-Use.” Counter-

Defendants deny the remaining allegations of paragraph 87.

        88.    On July 14, 2021, Nippon Shinyaku filed its original Complaint in this action
containing confidential information in violation of its agreement, materially breaching its
obligations under the MCA, Sections 1-3.

       ANSWER: Counter-Defendants admit that Nippon Shinyaku filed its Original Complaint

in this action on July 13, 2021. Counter-Defendants deny the remaining allegations of paragraph

88.

         89.    Notwithstanding that in its first set of Rule 12 responsive motions Sarepta raised its
objection to such confidential information appearing in Nippon Shinyaku’s original Complaint
contrary to the terms of the MCA, Nippon Shinyaku again included the same confidential material
in its First Amended Complaint (“FAC”), filed September 10, 2021 (D.I. 39).

       ANSWER: Counter-Defendants admit that Nippon Shinyaku filed its First Amended

Complaint on September 10, 2021. Counter-Defendants further admit that on September 3, 2021,

Sarepta filed a Motion to Dismiss and Motion to Strike certain paragraphs of the Original

Complaint. Counter-Defendants deny the remaining allegations of paragraph 89.

        90.   Sarepta renewed its objection in subsequent Rule 12 responsive motions (D.I. 53,
54) to such confidential information appearing in Nippon Shinyaku’s FAC contrary to the terms
of the MCA.

       ANSWER: Counter-Defendants admit that Sarepta filed a Motion to Dismiss and Motion

to Strike Portions of the First Amended Complaint on September 24, 2021. Counter-Defendants

deny the remaining allegations of paragraph 90.

       91.      On December 20, 2021, the Court found that Nippon Shinyaku had violated the
confidentiality and non-use provisions of the MCA and struck from the FAC the second sentence
of paragraph 2 as well as paragraphs 11, 78, and 91 of the FAC. (Hearing Tr. at 31-34; D.I. 84.)


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       ANSWER: Counter-Defendants admit that the Court struck the second sentence of

paragraph 2 and paragraphs 11, 78, and 91 of the First Amended Complaint. Counter-Defendants

deny the remaining allegations of paragraph 91.

        92.     As the Court found, Nippon Shinyaku “agreed not to hold the parties’ confidential
communications against Sarepta in future litigation” because the terms of the valid and enforceable
MCA had prohibitions against mentioning confidential communications in legal actions. Id. at 32,
34. But Nippon Shinyaku materially breached the terms of the agreement by including confidential
information in its original Complaint and again in its FAC, even after being put on notice of its
breach, requiring further briefing, motions practice, and a ruling by this Court striking the
confidential information from Nippon Shinyaku’s pleading.

       ANSWER: Counter-Defendants admit that in the Hearing Transcript from the hearing on

December 20, 2021, the Court stated that “NS agreed not to hold the parties’ confidential

communications against Sarepta in future litigation.” Counter-Defendants deny the remaining

allegations of paragraph 92.

         93.    Sarepta has suffered prejudice and injury by virtue of Nippon Shinyaku’s knowing
and repeated bad-faith breaches of the MCA’s confidentiality and non-use provisions of Section
2, entitling Sarepta to damages in an amount exceeding $75,000.

       ANSWER: Counter-Defendants deny the allegations of paragraph 93.

       94.      In addition, in view of Nippon Shinyaku’s knowing and repeated bad-faith breaches
of the MCA, Nippon Shinyaku has unclean hands precluding enforcement of the MCA and
depriving it of any entitlement to injunctive or other equitable relief for any alleged breach of the
MCA by Sarepta.

       ANSWER: Counter-Defendants deny the allegations of paragraph 94.

                                      GENERAL DENIAL

       Except as expressly admitted in the preceding paragraphs above, Counter-Defendants deny

each and every allegation of Sarepta’s Counterclaims including, without limitation, the headings

and subheadings contained in the Counterclaims. Pursuant to Rule 8(b) of the Federal Rules of

Civil Procedure, allegations contained in the Counterclaims to which no responsive pleading is

required and allegations for which Counter-Defendants lack knowledge or information sufficient


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to form a belief about the truth of the allegations shall be deemed denied. Counter-Defendants

expressly reserve the right to amend and/or supplement their answer.

                           RESPONSE TO PRAYER FOR RELIEF

        Counter-Defendants deny that Counter-Plaintiffs are entitled to the relief it requests or to

any other relief.

                      RESPONSE TO DEMAND FOR A JURY TRIAL

        Counter-Defendants admit that Counter-Plaintiffs have demanded a jury trial for all triable

issues alleged in its counterclaims but denies that a jury trial is warranted for Counterclaim V.

                                           DEFENSES

        Without assuming any burden other than those imposed by operation of law, and without

admitting that they bear the burden of proof with respect to any of the following, Counter-

Defendants, on information and belief, while reserving the right to add additional defenses based

on facts learned in discovery or otherwise assert the following defenses.

                                         First Defense
                            (Non-Infringement of the UWA Patents)

        Counter-Defendants have not infringed and will not infringe, directly or indirectly, any

valid and enforceable claim of the UWA Patents, either literally or under the doctrine of

equivalents.

                                        Second Defense
                                (Invalidity of the UWA Patents)

        Each asserted claim of the UWA Patents is invalid for failure to comply with one or more

requirements of the patent laws of the United States, including without limitation, 35 U.S.C. §§

101, 102, 103, 112, and/or obviousness-type double patenting, and the rules, regulations, and laws

pertaining thereto.



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                                        Third Defense
                        (Prosecution History Estoppel and Disclaimer)

       Counter-Plaintiffs’ claims that Counter-Defendants infringe the UWA Patents are estopped

in whole, or in part, by representations made or actions taken during the prosecution of the

applications that lead to the UWA Patents and/or related patents under the doctrine of prosecution

history estoppel and/or prosecution history disclaimer.

                                       Fourth Defense
                               (No Invalidity of the NS Patents)

       All claims of the NS Patents are not invalid or unenforceable under 35 U.S.C. § 1 et seq.,

and Counter-Plaintiffs will not be able to demonstrate otherwise by clear and convincing evidence.

                                         Fifth Defense
                                    (No Breach of Contract)

       Counter-Defendants have not breached any contractual obligations under the MCA. To

the extent Sarepta asserts a breach of contract claim against Counter-Defendant NS Pharma, NS

Pharma was not a party to the MCA.

                                         Sixth Defense
                                   (Failure to State a Claim)

       Counter-Plaintiffs’ Counterclaims fail to state a claim upon which relief may be granted.

                                       Seventh Defense
                              (Equitable Defenses and Remedies)

       Sarepta’s breach of contract claim and/or requested remedies arising from said breach of

contract claim are barred in whole or in part under principles of equity, including unclean hands.

By way of example only, in light of Sarepta’s breach of the MCA by filing its IPR Petitions before

the PTAB instead of challenging the validity of the NS Patents in the District of Delaware, Sarepta

has unclean hands precluding it from enforcing the MCA and depriving it of any entitlement to

injunctive or equitable relief for any alleged breach of the MCA by Counter-Defendants.

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                                        Eighth Defense
                                        (No Damages)

       Counter-Plaintiffs have not incurred any damages resulting from its allegations that

Counter-Defendants have infringed the UWA Patents and/or breached the MCA. Counter-

Defendants deny any allegations of infringement of the UWA Patents and breach of the MCA.

                                         Ninth Defense
                               (Limitation on Damages and Costs)

       Counter-Plaintiffs’ claims for relief are barred in whole or in part, including without

limitation by 35 U.S.C. §§ 286, 287, and/or 288.

                                          Tenth Defense
                          (No Willful Infringement of the UWA Patents)

       Counter-Defendants have not willfully infringed the UWA Patents, and Counter-Plaintiffs

are therefore not entitled to enhanced damages pursuant to 35 U.S.C. § 284.

                                       Eleventh Defense
                                     (No Exceptional Case)

       Counter-Plaintiffs cannot prove that their case against Counter-Claim Defendants is

exceptional and warrants the award of attorney fees under 35 U.S.C. § 285 or pursuant to the

Court’s inherent power.

                               Reservation of Additional Defenses

       Counter-Defendants reserve the right to add additional defenses based on facts learned in

discovery or otherwise.

                                    PRAYER FOR RELIEF

       WHEREFORE, Counter-Defendants respectfully request the following relief:

       A.     A judgment in favor of Counter-Defendants with respect to Counter-Plaintiffs’

Counterclaims;



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       B.     A judgment that Counter-Plaintiffs are not entitled to any of the relief requested in

their Counterclaims and dismissal of Counter-Plaintiffs’ Counterclaims with prejudice;

       C.     A judgement declaring that, pursuant to 35 U.S.C. § 285, this is an exceptional case

and awarding Counter-Defendants their attorneys’ fees;

       D.     A judgement awarding Counter-Defendants their costs under Fed. R. Civ. P. 54(d)

and 28 U.S.C. § 1920; and

       E.     Such other and further relief as the Court may deem just and proper.




Dated: May 5, 2023                                       Respectfully submitted,

                                                         MORGAN, LEWIS & BOCKIUS LLP

 Amanda S. Williamson (admitted pro hac vice)             /s/Amy M. Dudash
 Christopher J. Betti (admitted pro hac vice)             Amy M. Dudash (DE Bar No. 5741)
 Krista V. Venegas (admitted pro hac vice)                1201 N. Market Street, Suite 2201
 Wan-Shon Lo (admitted pro hac vice)                      Wilmington, Delaware 19801
 Maria E. Doukas (admitted pro hac vice)                  Telephone: 302.574.3000
 Zachary D. Miller (admitted pro hac vice)                Fax: 302.574.3001
 Michael T. Sikora (admitted pro hac vice)                amy.dudash@morganlewis.com
 110 N. Wacker Drive, Suite 2800
 Chicago, IL 60601                                        Attorneys for Counter-Defendants
 Telephone: 312.324.1000                                  Nippon Shinyaku Co., Ltd. and NS
 Fax: 312.324.1001                                        Pharma, Inc.
 amanda.williamson@morganlewis.com
 christopher.betti@morganlewis.com
 krista.venegas@morganlewis.com
 shon.lo@morganlewis.com
 maria.doukas@morganlewis.com
 zachary.miller@morganlewis.com
 michael.sikora@morganlewis.com




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